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                               UNITED STATES DISTRICT COURT

6                             CENTRAL DISTRICT OF CALIFORNIA
7
     MYMAIL, LTD.,                                Case No. 8:17-cv-01461-JVS (JDEx)
8

9                Plaintiff,                       ORDER DISMISSAL WITH
            v.                                    PREJUDICE
10

11   TCL COMMUNICATION INC.;
12
     TCT MOBILE (US) INC. AND
     TCT MOBILE, INC.
13

14               Defendants.
15         CAME ON THIS DATE for consideration of the Stipulated Motion for Dismissal
16   With Prejudice of all claims and counterclaims asserted between plaintiff MyMail, Ltd.
17   and defendants TCT Mobile (US) Inc. in this case, and the Court being of the opinion
18   that said motion should be GRANTED, it is hereby
19         ORDERED, ADJUDGED AND DECRRED that all claims asserted in this suit
20   between plaintiff MyMail, Ltd. and defendant TCT Mobile (US) Inc. are hereby
21   dismissed with prejudice, subject to the terms of that certain agreement entitled
22   “SETTLEMENT AND LICENSE AGREEMENT” and dated January 31, 2018.
23         It is further ORDERED that all attorneys’ fees and costs are to be borne by the
24   party that incurred them.
25

26   DATED: February 26, 2018                           ___________________________
27                                                            James V. Selna
28                                                      United States District Judge
